 UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

 WESTERN DISTRICT OF WASHINGTON
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       20-04002-MJH

       Hoover v. Quality Loan Service Corporation of Washington et

       TELEPHONIC (139) Status Conference



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       Case Number :                     20-04002-MJH
       Case Title :                      Hoover v. Quality Loan Service Corporation of Washington et
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